          Case 4:19-cv-06669-JST Document 97 Filed 04/26/21 Page 1 of 2


1    CHRISTOPHER GRIVAKES
      cg@agzlaw.com
2    DAMION ROBINSON
      dr@agzlaw.com
3    AFFELD GRIVAKES LLP
     2049 Century Park East, Suite 2460
4    Los Angeles, CA 90067
     Telephone: 310.979.8700
5    Facsimile: 310.979.8701
6    Attorneys for Plaintiff ROBERT ROSS
7    MARCELLUS MCRAE, SBN 140308
       mmcrae@gibsondunn.com
8    Gibson, Dunn & Crutcher LLP
     333 South Grand Avenue
9      Los Angeles, CA 90071-3197
       Telephone: 213.229.7000
10     Facsimile: 213.229.7520
11   ASHLEY E. JOHNSON, admitted pro hac vice
      ajohnson@gibsondunn.com
12   GIBSON, DUNN & CRUTCHER LLP
     2001 Ross Avenue
13   Dallas, TX 75201
     Telephone: 214.698.3100
14   Facsimile: 214.571.2949
     Attorneys for Defendant AT&T MOBILITY, LLC
15

16

17
                           UNITED STATES DISTRICT COURT
18
                         NORTHERN DISTRICT OF CALIFORNIA
19
                                     OAKLAND DIVISION
20

21
     ROBERT ROSS,                             CASE NO. 4:19-CV-06669 (JST)
22
                       Plaintiff,             [PROPOSED] ORDER GRANTING
23                                            MOTION TO FILE DISCOVERY
           v.                                 LETTER BRIEF UNDER SEAL
24
     AT&T MOBILITY LLC, et al,
25                                            Date: TBD
                       Defendants.            Time: TBD
26                                            Place: Courtroom 6
27

28



                          [PROPOSED] ORDER GRANTING MOTION TO SEAL
           Case 4:19-cv-06669-JST Document 97 Filed 04/26/21 Page 2 of 2


1          The Application of Plaintiff ROBERT ROSS (“Ross”) and Defendant AT&T
2    MOBILITY, LLC for an Order to file an unredacted version of the attachment to their
3    joint Discovery Letter to Magistrate under seal was received by the Court.
4          IT IS ORDERED, as follows:
5          1.    The Court GRANTS the motion to seal the unredacted version of the
6    attachment to the joint Discovery Letter to Magistrate. The unredacted version of the
7    attachment shall remain under seal, and the public will have access only to the redacted
8    version.
9

10   Dated: April 26, 2021           ______________________________
11                                   Magistrate Judge Donna M. Ryu
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                2
                             [PROPOSED] ORDER GRANTING MOTION TO SEAL
